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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

DERRICK BROWN and LYNN
BROWN,

Plaintiffs,
V.

WIRTGEN GROUP, WIRTGEN
AMERICA, INC., CATERPILLAR,
INC., BENDIX COMMERCIAL
VEHICLE SYSTEMS, LLC, JOHN
DOES 1-50, AND ABC
CORPORATIONS 1-50,

Defendants.

 

 

CIVIL CASE NO.

 

CIVIL ACTION
JURY TRIAL DEMANDED

REMOVAL NOTICE AND
PETITION

UNDER 28 U.S.C § 1441(a)—
DIVERSITY JURISDICTION

Removed from New Jersey Superior
Court, Law Div., Burlington County,
Dkt. No. BUR-L-2120-18

 

 

TO THE CLERK AND THE HONORABLE JUDGES OF THE
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW
JERSEY:

PLEASE TAKE NOTICE that further to 28 U.S.C. §§ 1332, 1441 (a), and
1446, the defendant WIRTGEN AMERICA, INC. (“Wirtgen America’), by and
through its undersigned attorneys, hereby petitions to remove this action from the

Superior Court of New Jersey for Burlington County to the United States District

Court for New Jersey, on grounds set forth below.

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A. BACKGROUND

On October 5, 2018, the Plaintiffs filed a complaint in the Superior Court of
New Jersey, Burlington County styled Derrick Brown and Lynn Brown v.
Wirtgen Group, et al., Case No. BUR-L-002120-18. A copy of the complaint
is attached as Exhibit A.

Over a period spanning from October 15 to 19, 2018, the defendants Wirtgen
America, Caterpillar, Inc. (“Caterpillar”) and Bendix Commercial Vehicle
Systems, LLC (“Bendix”) have separately received by way of the U.S. mails
copies of the complaint and summons. All have consented to the removal of
this lawsuit to the federal court.

According to the complaint, Plaintiffs—husband and wife—are residents of
Willingboro, New Jersey. They seek damages for personal injuries and loss
of consortium allegedly suffered by the husband on October 19, 2016, when,
during the course of his employment an air compressor on a road milling
machine he was working near exploded, “causing [him] severe and permanent
injuries,” and propelling shrapnel into his face, “disfiguring him” with
“permanent scars.” (Ex. A, pars. 1, 8, 16.) The complaint alleges that “Wirtgen
Group” manufactured the road milling machine, Wirtgen America distributed
it, Caterpillar manufactured the machine’s engine, Bendix manufactured the

air compressor, and that these actions contributed to cause of the explosion.

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(Ex. A, pars. 9-12, 16, 18-22.) The complaint also identifies fictitious or
nominal defendants, “Does 1-50” and “ABC Corporations 1-50.” (Ex. A, par.
i)

In consequence of injuries allegedly caused by defendants, plaintiffs seek
compensatory and punitive damages, as well as loss of consortium. (Ex. A,

the Demands to Counts One and Two, pp. 5, 6.)

‘According to the complaint, all named defendants are corporations existing

and headquartered in states other than New Jersey, where Plaintiffs reside.
(See Ex. A, pars. 1-5.)

As demonstrated below, this Court has original jurisdiction over this matter
under 28 U.S.C. § 1332 because it is a civil action between citizens of different
states where the matter in controversy exceeds $75,000, exclusive of interest
and costs. As such, the action is removable to this Court, as permitted by 28
U.S.C. § 1441 (a).

Venue here is proper because the action is pending in the Superior Court of |
New Jersey, Burlington County, a place embraced by this Court. See 28

U.S.C. §§ 110, 1441(a).

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B. COMPLETE DIVERSITY OF CITIZENSHIP EXISTS AMONG THE

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PARTIES
Subject matter jurisdiction over this action is conferred upon this Court by 28
USC § 1332(a), based in part on the fact that the citizenship of all plaintiffs is
diverse from the citizenship of all defendants, as supported by the complaint
as follows:
The Plaintiffs are all residents and citizens of New Jersey. (Ex. A, par. 1 .)
The defendant Wirtgen GmbH (incorrectly named “Wirtgen Group”) is a
“foreign corporation” with its principal place of business in Windhagen,
Germany. (See Ex. A, par. 2.)
This defendant Wirtgen America is a corporation formed under the laws of
Tennessee with its principal place of business in Tennessee. (See Ex. A, par.
3.)
The defendant Caterpillar, Inc., is a corporation formed under the laws of
Delaware with its principal place of business in Peoria, Ilinois. (See Ex. A,
par. 4.)
The defendant Bendix Commercial Vehicle Systems, Inc., is a corporation
formed under the laws of Delaware with its principal place of the business in |

Elyria, Ohio. (See Ex. A, par. 5.)

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C. THE AMOUNT IN CONTROVERSY EXCEEDS $75,000
Subject matter jurisdiction over this action is conferred upon this Court by 28
USC § 1332(a), based in part on the fact that the amount in controversy
exceeds $75,000, as evidenced by the following:

The complaint does not quantify the amount that Plaintiffs seek to recover as
damages in this action. (See generally Ex. A).

But the complaint does seek “punitive and compensatory damages, attorney’s
fees, costs [and] interest” for plaintiff Derrick Brown on allegations that the
air compressor explosion caused him “severe and permanent injuries” and
propelled shrapnel into his face, “disfiguring him” with “permanent scars.”
(Ex. A, pars. 8, 16, 18 and Count One’s Demand at p. 5.) The complaint also
seeks damages for loss of consortium in behalf of Derrick’s wife, Lynn
Brown. (Ex. A, par. 25.)

Where jurisdiction depends on the amount in controversy and where “plaintiff
has not specifically averred in the complaint that the amount in controversy is
less than the jurisdictional minimum,” then “the case must be remanded if it
appears to a legal certainty that the plaintiff cannot recover the jurisdictional
amount.” Frederico v. Home Depot, 507 F.3d 188, 197 Gd Cir. 2007)
(emphasis in original). “In personal injury cases, courts in the District [of New

Jersey] have found that there is no legal certainty that a plaintiff cannot

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recover a jurisdictional amount if the plaintiff alleges severe and permanent
injuries.” Morales v. Family Dollar, Inc., Civil Action No. 18-3758 (SDW)
(LDW), 2018 U.S. Dist. LEXIS 130030, at *8, 2018 WL 3656166 (D.N.J.
Aug. 2, 2018) citing Dugan v. ACME Mkts., Inc., Civ. A. No. 15-5267 (RBK),
2016 U.S. Dist. LEXIS 6838, 2016 WL 266350, at *3 (D.NJ. Jan. 20,
2016); Clark v. J.C. Penney Corp., 2009 U.S. Dist. LEXIS 45873, 2009 WL
1564175, at *3 (D.N.J. June 9, 2009); Briggs v. Target Corp., 2015 U.S. Dist.
LEXIS 30796, 2015 WL 1145127, at *4 (D.N.J. Mar. 13, 2015); Fields v.
Zubkov, Civ. A. No. 08-2016 (WJM) (MF), 2008 U.S. Dist. LEXIS 124999,
2008 WL 4447098, at *4 (D.N.J. Sept. 26, 2008), remanded on other
grounds, 2008 U.S. Dist. LEXIS 80285, 2008 U.S. Dist. LEXIS 802852008
WL 4561514 (D.N.J. Oct. 7, 2008). “Indeed, ‘most removed personal
injury cases will likely remain in federal court even if they involve a very
minor injury—unless the plaintiff limits her damages below the jurisdictional
limit.’” Jd., citing Fields, 2008 U.S. Dist. LEXIS 124999, 2008 WL 4447098,
at *4,

The Court should find, therefore, that the claims alleged in Plaintiffs’
complaint satisfy the amount-in-controversy requirement provided in 28 USC
§ 1332(b). See 28 USC § 1446(c)(2)(B); Frederico, 507 F.3d at 197; Morales,

2018 U.S. Dist. LEXIS 130030, at *8.

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D. ALL DEFENDANTS WHO HAVE BEEN SERVED WITH PROCESS

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HAVE CONSENTED TO REMOVAL
As required by 28 USC § 1446(b)(2)(A), all defendants who have been served
with process have joined in this Notice to Remove.
The defendant Caterpillar, Inc., has informed Wirtgen America that it
consents to the removal of this case and that shortly after this petition is filed
it will file its consent with this Court.
The defendant Bendix Commercial Vehicle Systems, LLC, has informed
Wirtgen America that it consents to the removal of this case and that shortly
after this petition is filed it will file its consent with this Court.
The defendant Wirtgen GmbH (incorrectly named “Wirtgen Group”) has
informed Wirtgen America that it has not been served with the Plaintiffs’
summons and complaint at its address at Reinhard-Wirtgen-Strasse 2, 53578
Windhagen, Germany (see Ex. A, par. 2), either directed to it in its correct
name or in the incorrect name of “Wirtgen Group.” (See also copy of the
Superior Court’s docket, attached as Exhibit C, in which a return of service
on “Wirtgen Group” or the correctly named Wirtgen GmbH is absent and not
otherwise indicated.) In the circumstances, “Wirtgen Group’s” (or, rather,
Wirtgen GmbH’s) consent to remove is not required. This is because there is

an exception “to the rule requiring all defendants join in the removal petition

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.... [that] arises when a non-resident defendant has not been served at the
time the removing defendants file their petition. In that situation the removal
petition will be effective provided that it alleges that the defendants who did
not join in it were not served in the state proceeding.” Lewis v. Rego Co., 757
F.2d 66, 69 (3d Cir. 1985) citing 28 USC § 1446(b)(2)(A).
Similarly, no consent is required from the fictitious defendants named in
Plaintiffs’ complaint, all of whom are unknown, nominal parties who have not
been identified and served (see Ex. A, Ex. E). See 28 USC § 1446(b)(2)(A);
Balazik v. County of Dauphin, 44 F.3d 209, 213, n.4 (3d Cir. 1995) (“The
unanimity rule may be disregarded where: (1) a non-joining defendant is an
unknown or nominal party... .”).

E. NOTICE OF REMOVAL IS TIMELY
This Removal Notice and Petition is timely filed. As required by 28 USC §
1446(b)(3), it was filed within 30 days of these Defendants having ascertained
that the case was removable, that is, after Caterpillar, Wirtgen America and
Bendix had received a copy of the summons and complaint through the U.S.
mail. (See Exhibits B). As further required by 28 USC § 1446(c)(1), this
petition was filed within the one-year period following the commencement of

Plaintiffs’ action on October 5, 2018. (See Ex. A.)

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F. THE SUPERIOR COURT HAS BEEN NOTIFIED OF THE
REMOVAL

12.  Asrequired by 28 USC § 1446(d), a copy of this Removal Notice and Petition
has been filed in the Superior Court of New Jersey for the County of
Burlington, where the action originated, and has been served on the Plaintiffs’
counsel on or about the time the Notice and Petition was filed with this Court.
G. ALL PROCESS, PLEADINGS AND ORDERS ARE ATTACHED

13. As required by 28 USC 1446(a), copies of all process, pleadings and orders
served upon the parties and filed in the state court action are attached hereto
as Ex. A (the complaint) and Ex. B (papers received by Wirtgen America).

H. CONCLUSION
This Court has subject matter jurisdiction over this case under 28 US.C.
$1332, given the diversity of citizenship between all Plaintiffs and all Defendants
who have actually been served; given that the amount in controversy exceeds

$75,000; and given satisfaction of the procedural prerequisites to removal under 28

U.S.C. § 1446. As such, Defendants are entitled to remove this case to this Court

under 28 U.S.C. § 1441.

WHEREFORE, the Defendants request that the action now pending before
the Superior Court of New Jersey in the County of Burlington, Docket No. BUR-L-

212018, be removed to this Court.

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In accord with 28 U.S.C.1446(a), this Removal Notice and
Petition is signed pursuant to Fed.R.Civ.P. 11 by:

s/ Neil A. Tortora, Esq.
MORRISON MAHONEY LLP
2001 US Highway 46, Suite 200
Parsippany, New Jersey 07054

Tel. No. (973) 257-3526, Ext. 2564
Fax No. (973) 257-3527
ntortora@morrisonmahoney.com
Attorneys for Defendant,
WIRTGEN AMERICA, INC.

 

CERTIFICATE OF SERVICE

unt,
Pees

I hereby certify that on this Gh day of November, 2018, I caused copies of
the forgoing Removal Notice and Petition and attached Exhibits A, B and C to be
electronically filed with the Clerk of the United States District Court, District of New
Jersey, using the Court’s electronic case filing system; I also caused paper copies of
the same to be served upon the attorneys listed below using the U.S. mails sent to
their addresses; and I also caused digital copies of the same to be served at the
attorneys’ email addresses, except for Plaintiffs’ attorney, who was additionally
served at his fax number (having no listed email address).

Benjamin Folkman, Esq.

FOLKMAN LAW OFFICES, P.C.

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Cherry Hill, NJ 08003

Tel. No. (856) 354-9444

Fax No. (856) 354-9776

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Three Gateway Center

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Jkeale@tktrial.com
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ntortora@morrisonmahoney.com
Attorneys for Defendant, WIRTGEN AMERICA,

INC.

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EXHIBIT A
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FOLKMAN LAW OFFICES, 1.C.
Benjamin Folkman, Esquire

ID No, OG0101u84

(949 Berlin Roads Suite 100

Cherry Hill NJ 08003

‘Ts $56-354-9444

F: 856-354-9776

Auarney for Plaintiffs

 

 

“DERRICK BROWN and LYNN BROWN, | SUPERIOR COURT OL NEW JERSEY
(hw), | BURLINGTON.COUNTY
Plainuilfs, Law Division

DocketNow BURL ~18
WIRTGEN GROUP, WIRTGEN AMERICA,
ING., CATERPILLAR. ING. BENDIX COMPLAINT
COMMERCIAL VEHICLE SYSTEMS, AND
LLC, JOHN DOES 1-50, aud ABC DEMAND FOR JURY TRIAL
“CORPORATIONS I-50,
_ Defentianis.

 

 

 

 

 

Phaunufls. by way of Complaint agaist the Defendants say:

PARTIES

I; At all dimes relevant herein. Plainults Derrick Brown and Lynn Brown, husband
and wife, resided a7 Executive Court, Willinghoro. New Jersey Ox046.

2; Upon information aad belief, at all times relevant herein, Defendant Wirtsen Group
(Wirlgen”), was a-forcign corporation ar other forny ol business entit y authorized to do: business
in the State of New Jersey, with ils. principal plrce of business at Gib’ & Co. KG. Reinhard:

3. Upon information and. belief, at all times relevant herein, Defendant Wirtgen
“America, Ine. CWirlgen America”) was. a corporation or other forni of business cnlify authorized
to do. business in the State of New Jersey. with ils principal at 6030 Dana Way. Antioch, Tennessee

37013,
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4, Upon information and beliel atall times relevant herein, Defendant Caterpillar,

Inc. Caterpillar’) is a corporation or other fora of business entity atthorized to-do business in
the State of New Jersey. with its principal al S01 Southwest Jefferson Avenue, Peoria, HHinois,
61630.

3. Upon information and belief. at all times. relevant herein, Bendix Commercial
Vehicle Systems, LUC (“Bendix”) is a corporation or other forni.of business: entity authorized to
do business inthe Stateol New Jersey. with its priticipal at 901 Cleveland Street, Elyria, Ohio
44035,

G, At all times relevant herein, Defendants John Does 1-50, inclusive, are fictitious
names for individuals. the identities of which are ankiiown. at the present line, but avho were
involved in the defective design. ananufacture, asseribhl y. production, testing. distribution, supply.
maintenance, repair, service-and/or labeling of the milling amachine, October 19, 2016 incident,
and its component-paris, as well as the preparation, wrillhy, approval and/or dissemination of
warnings, instructions and guidance for the operation and/or maintenance. of the tilling machine,
which was involved iy the October 19, 2016 incident. which resulied in Derrick Brown sustaining:
severe and permanent injuries-as-a result of the Defendants’ tortious misconduct,

7, AC all times:relevant herein, Defendants. ABC ‘Corporations: 1-50. inclusive, are
fictitious names for corporilions, partierships, joint ventures; associations, or ather forms of
private 6r public entities, inchudiiy busiress entities. the identiGes of which areoumkncwiat the
present lime. but who were involved in ihe defective design, manufacture, assembly, production,
testing, distribution, supply, maintenance, repair, service, and/or labeling of the milling machine,
October 19, 2016 incident, and is component paris.as well as the preparation, wrilingy approval
and/or dissemination of warnings, instructions, and guidance lor ibe operation and/or maintedance
of thé milling machine, which was involved in the October 19, 206 incident, which resulted in
Derrick Brown sustaining severe and permanent jajunes-as-a fesuleof the Deferidaais® Yrtious

misconduct:
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FACTS.

 

8. On October 19, 2016, Derrick Brown was eniployed by Trap Rock Industries, LLC
C'Frap Rock") and was ona road imilling crew, The road milling crew was supplied by Trap. Rock
witha Wirtgen Cold Milling Machine. mode! W2000 ( the “milling machine’).

¥, Upon information. and belief at all times yelevant herein, Wirtpen designed,
manufactured. assembled. produced. tested and/or labeled the: milling machine and/or prepared,

wrote. approved. and/or disseminated the milling: aachine’s warnings, instructions, and/or
guidance for operation and/or maintenance.

1G. Upon inforanition and belief: al all tines relevant herein, Wirleen America
distributed, supplied maintained. repaired. serviced, and/or labeled o( the milling machine, and/or
prepared. wrote, approved, and/or disseminated. ihe amnilling machine's. warnings. instructions,
and/or guidance for operation and/or. mbidienanc,

Ll. At all finses: relevant herein: the- milling machine savas equipped. with an engine,
which was designed, ninifaciarcd. akscaybled: proditced, tested and/or labeled. by Caterpillar;
furthermore, Caterpillar prepared, wrote. approved. and/or disseniinated: the: en gine’s warnings.
instcuctions, and/or auidance for operation and/oF mainten anee,

12. Atall umes relevant herein. the milling niaeltine’s engiie was equipped with an air

or swhich was designed, mnulictured. assembled, produced, (ested and/er Labeled by

 

compres
Bendix; furthermore, Bendix prepared, wrote, approved, and/or disseminated the.air compressor’ s
warnings. instructions, and/or guidance for operat ion and/oranaintenance, The air conipresser was
powered by the milling machine's engine.

i Atal dintes relevant herein. dhe milling machine's air compressar-was connected
by way of a-hose to aiair tank, which was attached to the side ofthe milling machine: a different
hose commected the air tank io a nozzle area which workers could dflach pneumatic. atochs).

14, -Atall Gimes relevant herein, when the milling machine was on aod the engine was
running, the air compressor was also ons conversely when the milling machine's engine was off,
(he. air compressor was off,

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18. Atall times relevant herein, upon information and belie! Trap Rock serviced the
milling machine. the engine, and the air compressor in-accordance with the applicable operators"
and maintenance matiuals. and/or instructions with which Delendants provided to it

lf... On Oetober 19, 2018, ak approxifnuiely OF:21 ani, Derrick Brown was standing
beside the milling machine in the area of the air tank while the milling machine was in operation.
Suddenly and without warning, (hear tank exploded, causing Derrick Brown to be propelled off
of bis feet, Janding on the ground, causing severe and permanent injuries. Additionally, where

shrapnel was propelled inte Derrick Brown's face, he has pernianent scars, distiguring him.

COUNT ONE

 

LY. Plainti{fs incorporate by reference as fully as though the same were set forth in full
herein the above paragraphs of the Complaint.

18. Dues to ‘the. defective. desten, manufacture, assembly, production, testing:
distribution, supply, maintenance, repair, service. and/or labeling of the milling machine, October
19,2016 incident, and Us component parts. as well as the preparation writing, approval -and/or
dissemination. of warnings, instructions. and guidance forthe operation. and/or mainionance of the
mulling machine, which was iivolved in the October. 19. 2016 incident,and its component parts,
the at tank exploded and caused the aforesaid injuries fo, Derrick Brown,

Po. The aforesaid milline machine, alr conipressor, and/or-alr link was defective-as
follows: a} if was not reasonably fil. suitable and/or-safe for is. antended uses; by ihe milling
muichine, air compressor, and/or air tank was designed, manufactured, marketed, and: sold without
proper testing and: inspection infended to reveal any defects or unsate.conditions: ¢) the milling
machine, air compressor, and/or air tank failed 10 contain proper. instructions. and warnings as to
the potential hazards and dangerous, propeusities:.d) the Operators and/or-maintenance manual for
the milling machine. air compressor, and/or aip tank failed to copuiin adequate instructions for the
proper maintenance and/or service for the milling machine, air campressor, and/or air tank: and

ey the milling niachine. air compressor. and/orair tank was othcrwisedelCulive,
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20. Defendants expressly and/or implied|y Warranted that the milling machine. air
compressor, and/or air tank was reasonably sale for ds intended and Torcsceable tses and, in fae.
said was not reasonably sale for us intended and foresccable tises as warranted,

21. Defendants, their successors OF assignees are strictly liable, careless and negligent
i the design, manufactare, asscmbly, production, testing. ‘distribution. supply. maintenance.
repait, service, and/or labeling of the milling machine, air Compressor. and/or air tank aid its
component parts, as well as-ihe preparation, writing, approval: and/or dissemination of warnings,
instructions, and guidance: for the operation and/or maintenance of the milling machine, air
compressor, and/or alr tink and its component parts insofaras these Defendants. failed toa) conduct
any inspection of examination of said item w determine fal was dree fronr defects: b) conduct
proper-tests of the design and manulacture of said ifem:to determine if avas sale: fil and suitable
for its: intended ausezc) provide Derrick Brown and/or Trap Rock with proper Warnes and:
instructions of the dangerous propensities: and ‘potential hazards. af the milling: machine, ‘ane

compressor, and/or aimtank: d) provide Derrick Brown and/or Trap: Rock with operators, and/or

maintenatice manual for the mulling machine, air compressor. and/or air tank that contained

adequate: instructions for the proper maintenance and/or service for the milling machine, alr
compressor,. and/or air tankr and e) Defendants were otherwise: negligent and Hable under
principles of strict product lability pursuant to NuUS-A, 2A:S8C-1, eb seq. and under Cavanaugh
y. Skil Corp., 331 NI. Super. 134 (App. Div. 1999), 164 NLT 71-2000).

22. As aditect and proximate resull of the aforesaid defective condition of the milling
machine, air compressor, inad/or air tank and/or (he breach:-of warranties by-one some or all of the
Defendants, Derrick Brown suffered harivi.

23, All of the alorcmentioned acts or omissions of the Delendants were done in willful,

wanton and feckless disregard to the health-and safely of persons like Derrick Brown.

 

 

WHEREFORE, Derrick Brown demands judgment against. Defendants, jointly, severally,

and inthe alternative for punitive and compensatory. damages, attorneys’ foes, costs. interest and

such other relief as the Count deems jisi.and equitable,

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COUNT TWO

24, Plaintiffs hereby incorporate. the preceding paragraphs. as though set fartiy at ful
herein.

25. Atall relevant times hercin. Plaintiff Lynn Brown was the lawful wife of Derrick
‘Brown, and was catised to be deprived. of the socicty, services dnd cousortium of her Husband and
will in the future cantique 10 be sa deprived,

WHEREFORE, Derrick Brown demands judgment agitinst Defendants, jointl yo severdl)y,
and jn the alternalive for punitive and compensatory damages, attorieys’ feos, costs, interest and

such other relief as the Court deems just and equitable:

 

DEMAND FOR JURY TRIAL

Plaintiff bevel by demands airial bY jury us-jocall sues:

DESIGNATION OF RIAL COUNSEL

Plaintiff hereby designates. Benjaniin Folkman, Esquire as (rial counsel in this-matter.

Respectiully submitted,
FOLKMAN LAW, ore CES, 93 BC

  

FOL KN 1AN
Dated:

 

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CERTUSICATION

The undersigned counsel cerufies under Ry 425-1 that bere are no other actions: or
arbitrations pending or contemplaied involving the subject matter of this controversy al this (ine.
and there are no additional knawn parties who should-be joined to thé present action at iis line.
I certify the foregome to be (ue. | ami aware if the above is willfully false, Tam subject to

punishment.

FOLKMAN LAW OFFICES, P.C.

Ni

By: ee

“BENIAMIN FOLKMAN

Dated:

 
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Case 1:18-cv-16004-NLH-JS Document1 Filed 11/09/18 Page 20 of 33 PagelID: 20

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NOTICE PURSUANT PO RULE. 1:7-1(b)
PLEASE TAKE NOTICE that to the extent applicable, Plaintiffs may. at the time of closing
argument. suggest to the tricr of Tact with respect to any element of damages. that unliquidated

damages-be calculated on a time-unit. basis, without reference to-a-specific stint,

DEMAND FOR DISCOVERY OF INSURANCE CO VERAGE INC IRMATION

Demand is hereby mide pursuant to R.4:10-2¢b) and Ral 8-4) tipon. cach party defendant

herein. to produce true and correct copies of any and all insurance policies, Heluding declarations

pages, abithe offices of Plainulfs’ counsel within forty-live:(45) days. fron the date of service

  

 

Ahereol.
FOLKMAN LAW OFFICES, P.C.
By. f a cence eee
. — P BENJAMIN FOLEMAN
Dated: es A

 
Case 1:18-cv-16004-NLH-JS Document1 Filed 11/09/18 Page 21 of 33 PagelD: 21

EXHIBIT B
I

Case 1:18-cv-16004-NLH-JS Document 1

FOLKMAN LAW

‘

Filed 11/09/18 Page 22 of 33 PagelD: 22

 

OFFICES, P.C.

BENJAMIN FOLKMAN, Esouire ***?*
SARAH SLACHETKA, Esquire **®

Paut C. Jensen, Jr, ESouire*®

LAUREN M. Law, Esouire*®

Eve R, -KELLer, Esouire®®

JERAUD: CURETON, ESQUIRE?”

MITCHELL J: Rapit, Esoture/CPA®®

W. RopB GRanHaAm, Esouire**®*

STEPHEN J. BUSTERNA, ESQUIRE (957-2018)

CERTIFIED BY THE SUPREME COURT OF

EW JERSEY AS ALCIVIE TRIAL ATTORNEY

RTIFIED BY THE SUPREME Court oF

HSEV AS A-CAISINAE TRIAL ATTORNEY

“" GGaav-CeRseite Tat ADVOCATE

SATIONAL Boako OF TRIAL ADVOCACY

; : “MEMBER JOR NU BAR
®) MEMBER OF PA BAR

MEMBER OF. AZ) DC.ONYG VT BARS

© Memoer of FLBAR

OF COunsEE

 
    

 

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Oétober 12, 2018

Wirtgen America, Inc,
6030 Dana: Way ae
Antioch, Tennessee 37103

Re:

‘Derrick Brown and Lynn Brown ¥: Wirtgen Group, Wirtgen America, Inc.,

Caterpillar, Inc., Bendix Commercial Vehicle Systems, LLC, John. Does 1-50,

and ABC Corporations’ 1-50

Docket. No: BUR-L-2120-18

Dear. Sir/Madam,

Enclosed please find the following documents which are hereby-served upon you:

9
°
a

@ Summons.

One copy of the filed Complaint
One copy.of the filed Case Information Sheet;
One copy of the filed Tracking Assignment Notice; and.

Please provide the enclosed to your attorney-or insurance cotipany so that a response canbe filed

as soon as possible,

Ene.

ce: Client (without ericlosures)

1949 “BERLIN. ‘ROAD: SUITE 100
CHERRY: HILL. New JERSEY Q8003
PHONE (856) 394-0444
FAX 4856) 354-9776

‘Thank you for your prompt-attention to this matter:

FOLK!

  

AW OFFICES, P.C.

  

"SARAH SLACHETRA.
sslachetka@folkmanlaw.com

 
  
 

 

[35h POs SPEER ES re GO
: Aten 1303
Pash RIS) ABDAMES

PAX TAA AGI OASS
FOLKMAN LAW OFFICES, P-C,-
By: Benjamin Folkman:

ID. No. 000101984

1949. Berlin Road, Suite 160

Cherry Hill, NJ-08003
(856).354-9444

Attorney for Plaintiff

 

DERRICK BROWN and LYNN BROWN,
Aw),

SUPERIOR COURT OF NEW JERSEY
BURLINGTON COUNTY

f

Case 1:18-cv-16004-NLH-JS Document1 Filed 11/09/18 Page 23 of 33 PagelD: 23

Plaintiffs, Law Division

ON:

WIRTGEN GROUP, WIRTGEN AMERICA, | Docket No BUR-L-2120-18
INC., CATERPILLAR, INC., BENDIX
COMMERCIAL VEHICEE SY STEMS,
LLC, JOHN DOES }-50. and ABE
CORPORATIONS 1-50.

Defendants.

From The State of New Jerseytothe: Defendant(s} Namnies A bave:.

 

SUMMONS

 

 

 

 

“The plaintiff. named above, has filed a lawsuit, against you in the Superior Court of NewsJersey; The
complaint attaclied to this summons.states the basis for.this lawstit: If you disputé:this coniplaint.you or your atlorney
must file awrillen answer-or motion: cand proot af'servies with the:-depnty:clerkof the: Superio® Court inthe county
listed'above Within. 35 davsirom the dale you received this: suMMoONS, HOt Coline the-date you received al. (A
directory of the addresses’ of cach deptity clerk of the Superior Court is ayailable in the Civil Division Management
Office in: the: county: listed above: ai, on liielar, Hupyiwww.anjedtirts. govifornys: 0153 deptyclerklovref, pdf, yl the
complaint is one in foreclosure: then you.aust | fleyGur Meriter dinswer orsmation and proofof service-with-he Clerk
of the Superior: Court, Hughes Justice Complex, P. ©. Box 971, Trentine NL 0862-097 1T-A. fing fee payable to the
‘TreasuverState of New. Jerse anda completed-Case. Information Statenient tavailable trom the « deputy cletk of the
Superior Court) must. accompa our alswer or motion when itis filed, You niust al ‘send a-copy of your-answer
or Motion (6, ‘plaindit's’ sallorney whose name-and address-appear above, onto plaindff, ifm attorney is fanted above,
A telephone-call will Rot protect your rights? you must file and serve a written.ay Par moval (with fee OfS175,00
and. completed Case Inforniation’ Statement) ifyouowant the court lo-hear your: defe se:

Ifyoudo not file and sérvéa written answer demotion within 35 days. the: court may-enter-a judgmentagainst
you forthe relief plaintiff demands, plus. interést and-costs of suit. If judeitientas enicked against you, the Sheriffmay
‘seize-your money; wages or property to-pay. call. oF partofithe judgment:

you cannot afford an allornéveyou may gall the Legal Services office in’ the-county where you live or the

Legal Seiwicés ‘of New Jersey Staiewide Holling at e888-USNILA W. (1-888: § 76-5529), H you. donot Have an
attormey and are not eligibletor fee lebal assistange. Vou may obtain a-referral loca attorney by callie one of the
Lawyer Referral Services, Acdirectary with eOntuet livférmation lor local eval Services: Offices: and ‘Lawyer Referral
Services is available. in the. C dives rent Olfice’ in ihe count: listed above-and onliie-at.

 

 

 

 

  

    

   
 

   

   
   
 

 

 

 

  
  
    

 

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http://www. njoourts gow'forms/10153 3_deptyclerklaverefipdt.

   

 

Dated: October 5.2078 is lichelle AL Sinitlh, U8.
Michelle M. Smith, Esq.

  
 

Clerk, Superior Court of New Jéfsey:

Name of Defendant.to be served: Wirigen America, Ine,
46030-Dana Way
“Antioch: Faiiessée.3 7015

 
Case 1:18-cv-16004-NLH-JS Document1 Filed 11/09/18 Page 24 of 33 PagelD: 24

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FOLKMAN LAW OFFICES, ?.C,
Benjamin Folkman, Esquire
ID-No. 000101984
1949 Berlin Road, Seite-100
Cherry. Hill, NI 08003
T: 856-354-9444.
F: 856-354-9776:
Anmorney for Plaintiffs

 

 

DERRICK BROWN and LYNN BROWN, | SUPERIOR COURT OF NEW JERSEY
(hi), BURLINGTON COUNTY
: PRiinalts, Law Division

Docker Nar BURA -18
WIRTGEN GROUR: WIRTGE N AME RIC LA
INC... CATE RPIGLARS TE ID

  

COMPLAINT

  

HICLE. ayer e

COMMERC [IAL VE MS, : AND
LLC. JOHN DOES 1-50,and ABC DEMAND FOR JURY. TRIAL.
‘CORPORATIONS J-S0),

_ Dete nidants:

 

 

 

 

Plaintiffs. by way of Complaint against the Defendants say:

I. Atall ines relevant bercin, Plaintiffs Derrick Brown ahd Lain Brown, husband
nnd wifé, resided tit 7 Executive Court, Willingboro, New Jersey G8046:

2. Upon information and belief atall times relevant herein, Defordant Wirlgen Group
(Wirtzen”), was a foréign corporation orother form-of businésséntit y authorized todo business:
ja the State of New Jersey. with ils principal place of business at Giibli & Co: KG. Reinhard-
Wi rigen-Strasse 2.53578 Windhagen, Germany,

3: Upon information and. belief, at call times relevant herein. Defendant Wirigen
America, Inc. (“Wirtgci America”) was-a corporation omother Torn of business entity authorized
to-do business in the State of New Jersey, with its principal al 603¢ ) Dana Way. Antioch, Tennessce

37012.
C - 1

Case 1:18-cv-16004-NLH-JS Document1 Filed 11/09/18 Page 25 of 33 PagelD: 25

BUR L-O02120-17

 

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4, Upon information.and belief at alb tines relevant herein, Defendant’ Caterpillar,
Ine. (Caterpillar) is accorparaiion or other fori of business-entity authorized to da business in
the State of New Jersey, with it8 principal al 501 Southwest. Jefferson Avenue. Peoria, Minos:

61630,

5. Upon information and belicl, at all times: felevant herein, Bendix Conimereial
Vehicle Systenis, LLC (“Bendix”) is acorporation of ether form, of business-entity authorized to
do business:in:- the: State of New Jersey. with its: principal at 901 Clevelind Street, Elyria, Ohio
44035,

6. AL all mes relewant hereii, Défendaiits. John Does. 1-50. inclusive, are fictitious

names. for individuals, the-idemtitiessof which are wnkiowh at the: present time, butavho. were

involved in the-defective- design, manufacture, assemb lye production. testing distribution, supply.
Maintenance, repair: service, and/or labeling of the: rillirie machine, October 19. 2016 incident,
and its Component: parts, as well -as the preparation; writing, approval and/or disseniination of
wamings, instructions, and guidance for the operation and/o# niaintenaiice of the milling machine,
which was involved in. the October 19, 2016 incident,-which resulted in Derrick Brown sustaining.
severe-and permanent injuries-as aresull of the Defendants’ tortious nisconduet,

7. ACall- times relevant herein, Defendants ABC: Corporations: 1-50, inclusive, are
fictitious names fdr corporations, partnerships, joint ventures, associations, oF other forms of
‘private or public entities, includiig business entities. the idenuties of whiel-are unknown at the
‘present (inic, but who: were involved inthe defective desiun, manulactre, assembly production;
testing, distribution, suppl y. maintenance, repair, service, and/or labeling of the milling machine;
October 19,2016 incident, and dls-component parts, as wellag the preparation, writing; approval

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oe

and/or dissemination of warnings. instructionssand guidance:for the operation: and/or maintenance:
oP thé fulling machiae, which wasinvolved in the October 19.9016 incident, which résulted in:
Derrick. Brown sustainiig severe and permanent injuries as a result of the Defendants’ ‘forlious:

misconduct.

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i

Case 1:18-cv-16004-NLH-JS Document1 Filed 11/09/18 Page 26 of 33 PagelD: 26

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BACTS
8. On October 19. 2016, Derick Brown was employed by Trap Rock Industries LLC

(Trap Rock”) and-was of wroad milling crew. The road. milling crew was supplied by Trap Rock
with a Wirtgen.Cold Milling Machine: model W2060 (the “milling machine”).

9, Upon information and? belief, at. all times relevant herein, Wirtgen designed.
manufactured, assembled. produced. tested-and/or labeled the milling machine and/or prepared.
wrote, “approved, and/or disscittinatéd the milling machine's warnings, instructions, and/or
guidance for operation and/or maiticnance.

10: Upen infotitation’ and belicl: at all times relevant herein. Wirteen: Anietica
distributed, supplied, maintained. repaired, serviced, and/or labeled of theamilling machine, and/or
prepared, wrote, approved, and/or disseminated the milling machine's warmings, instruetions..
and/or guidance lor ope rationund/dr niainionance.

it At all times. rclewant herein, the milling machine: was equipped with an engine.
which was designed..manufactured. assembled: produced, tested and/or labeled by- Caterpillar;
furthermore. Caterpillar prepared, wrote, approved. and/or disseniinated the-engine’s warnings,
instructions, and/or. guidance for Operalionand/or nidintenancé:

12. Atall times’relevant herein, the mulling machihe’s engine was. equipped wilh an-air
compressor, which was designed, manufactured, assembled: produced, tested and/or labeled by
Bendix; furthermore, Bendix prepared, wrote. approved, and/or disseminated: (he ait compressors
warnings, instructions. and/or gut iddnee tor operation and/orindinvenance; The air compressor was
powered by the milling machine's engine.

13, At all times relevant hercin. the inilling miachine’ salir compressor was connected
by way of a hose to amair tank, which was attached to the side of the milling machineva-dilferent
hose connected the air tank to.a nozziearea which. workers could attacly pneuinatic-a tool(s),

‘TA: Atall times-relevant herein, when thé milling machine was on and the engine was

 

running, the air compressor was.also‘oi: conversely when the milling machine's engine.was-off,

the-alr compressor was off.
Case 1:18-cv-16004-NLH-JS Document1 Filed 11/09/18 Page 27 of 33 PagelD: 27

 

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15. -Atvall times relevant herein. aipon information and belief. Trap Rock serviced. the

milling imuchine, the engine, and the air'compressorin accordanee withthe applicable operators”
‘and mmaihtenanee manuals and/or anstriictions widiawhich Defendants provided torit,

16. On October 19, 2016, at approximately 07:21 an. Derrick Brown was standing
beside the milling machine in the area of the air tank. while the milling machine was in operation,
Suddenly and without warning, the ais tank-exploded, causing Derrick Brown to be propelled-off
of his feet, landing on the erotnd, causing severe and permanent injuries. Additionally, where

shrapiel was propelled nto Derrick. Brown's face. he has pernanentscars. disfiguring him:

COUNT ONE

[7 Plaintiffs incorporate by reference as fully as though the same were set forth in full
herein the above-paragraphs of the Complaint,

18. “Due to the defeetive design; manufacture, assembly, production, testing,
distribution; supply. maintenance, repaix, service and/or tabelin g of the milling machine, October
19,.2016-incident, and its component parts, as well as the preparation. writing: approval and/or:
dissemination of warnings, insttuctions, and guidance for the operation and/or maintenance of the
milling machine; which was involved inthe October 19.2016 incident, and its component parts,
the air tank exploded and caused the aforesaid injuries to: Derrick. Brown,

19. The aforesaid milling machine; air compressor. and/or-air tank was-defective-as

 
  

follows:a) i was ot reasonably fit, suitable and/or-safé for its-intended uses;

by the anilling
machine, air compressor. and/or-air tank- was designed, inanufactured, marketed. and-sald without
proper testing and Jaspection intended to reveal-any defects or unsafo-conditions: c) the-milling

machine,air- compressor. and/or air tank failed to-contain proper insteactions and: warnings-as to

the potential hazards and dangerous’ propensities:-d) the operators and/or maintenance manual for

 

   
  
  

the milling machine. air conipressor, and/or air tink failed te contain-adequate instructions for the

proper maintenance and/or service lor the milling machine, air-compressor, and/orairtank; and
é) theanifling machine, air compressor, and/or air tank was otherwise defective,
Case 1:18-cv-16004-NLH-JS Document1 Filed 11/09/18 Page 28 of 33 PagelD: 28

  

20. DeFehdavits expressly and/or inpliedly warranted that the milling machine, air
compressor, and/or-air tank was reasonably safe for its intended and foreseeable uses: and, ii fact.

said Was fétreasOnably safe for its thtendéd and forésccableaises as. warranted.

 

21. — Defendaiits, their sticcessors-or assignees are’sttictly liable, carcless and negligent.
inthe design, manufacture, assembly. production, testing, distribution. supply. maimtenanee..
repair, service, and/or labeling of the milling machine, air compressor, and/or-air tank and-iis.
component paris.as well as the pecparation, writing, approval ‘and/or dissemination of warnings,
instructions, and guidance for the: operation and/or maintenance of the milling machine, air
conrpressor, and/or air tank and is: ecomponen! p naris insofar as these Defendants failed tod) conduct:
any inspection-or examination of said Hem todetermine if iLawas (ree Trom-defects: +b) conduct
proper tests of the design and manufacture of'said item io.determine il it was sale: Stand suitable
for ils intended user-¢) provide Derick Brownsand/or Trap Reck with proper wamirigs and
instructions of the dangerous propensities and potential hazards: of the milling machine, air
compressor, and/or airdank: d) provide Derrick Brown and/or Trap Rock with operators and/or
maintenance manual for the milling machine, -air compressor, and/or air ‘tank that contained
adequate: instructions for the proper maintenance -and/or-seryice for the niilling machine, air
compressor, and/or. air tank: and, .c) Defendants were otherwise. negligent and liable under
principles of strict product liability pursuant to NSA, 2AS8C- 1, et seq. and under Cave anaugh:
v_ Skil Corp, 331 NJ, Super. 134 (App. Div. 1999), 164. NI. P2000).

22. As adlirect and proximate result of the aforesaid defective condition of the milling:
machine, air. compressor, and/or air tank and/or the breach of warranties. by-one some.orallof the
Defendants, Derrick Brown suffered hatin.

23. AlLof thealorementioned acts or omissions of the Defendants were done in willful,
wantonand reckless disteaard to the health-and safety-of persons ke Derrick Brown:

WHEREFORE, Derrick Brown deniands judgment.against Defendants, jointly, severally,
and in the alternative for punitive and. compensatory damages, attorneys’ fees, costs, interest-and.
stich other-reli¢f as the Court.deems just and equitable.

ate
Case 1:18-cv-16004-NLH-JS Document1 Filed 11/09/18 Page 29 of 33 PagelD: 29

PLL VROTET 7 39564.

 

COUNT TWO

24, Plaintiffs berelyy incorporaic:the preceding paragraplis as though set-forth at full
herein,

25. Atallrelevant times herein, Plainti! Lynn Browi-was the lawlil wile of Derrick
Brown, and was caused to be deprived-al the society, services and Cousortiuny of hex busbarid and
will m the future cantiaue to be so deprived.

WHEREFORE, Derrick. Brown demands judement against Defendants, jointly: severally,
and in the-alternative for punitive and conipensatory damages, attorneys” fees, Costs, datercst and

such other rehieFas the Court-deems just and equitable:

DEMAND FOR JURY TERIAL

 

Plamtiff hereby demands-a trial by jtiry'as to-all issues.

DESIGNATION OF TERIAL, COUNSEL

Plaintiff hereby designates Benjanin Polkinai, Esquire as ial counsel in this matter,

  
 

Respecudully subniitied,
FOLKMAN LAWOFFICES, P.C,

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Dated: 0),

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Case 1:18-cv-16004-NLH-JS Document1 Filed 11/09/18 Page 30 of 33 PagelID: 30

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CERTIFICATION
The undersigned counsel cerifies under R. <-:S-) thar there are no -other actions: or

arbitrations pending or contemplated involving the subject matter of this-conttoversy at this time,

and there are‘novadditional known partios who should-be jained to the preseit action at this time..
I certify the foregoing to be true. 1 any aware if the above is willfully false. 1 aim subject to

pumshment.

VOLIKMAN LAW OFFICES, B.C.

 

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By: Poss

 

 

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Case 1:18-cv-16004-NLH-JS Document1 Filed 11/09/18 Page 31 of 33 PagelD: 31

 

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NOTICE PURSUANT TO RULE 1:7-1(b)

PLEASE TAKE NOTICE that. tothe extent’ applicable, Plaintiffs may, at the time-of closing

argument, suggesi to the ter of fact with respect-t6 any clement of damages, that antiquidated

damages: be calculated on a time-unit basis, without reference toa specific Suni,

DEMAND FOR DISCOVERY OF INS URANCE: COV ER AGE INFORMATION
Demand is hereby imade: pursuant te Rid: 10-2(h) and Rell 8-1 hn) upon cach party defendant
Héreitito produce truce tind Cofreet copies of any and all insurance policies, iachudin # declaralions

pages, at the ollives-of Phuinlils’ counsel within forty-five (45) days. from the date of service

 

 

hereof.
FOUKMAN LAW OFFICES. PLC.
Bye. f . a —
/ BENJAMIN FOLKMAN
Dated:

 

8s
Case 1:18-cv-16004-NLH-JS Document1 Filed 11/09/18 Page 32 of 33 PagelD: 32

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076 7056-41 AM Pg 4 of 1 Trans IDs. bveo1si739564

 

Civil Case Information Statement

Case Details: BURLINGTON | Civil Part Docket# L-002120-48

Case Caption: BROWN DERRICK VS WIRTGEN GROUP Gase Typet PRODUCT LIABILITY

Case Inifiation Date: 10/05/2018- Docufnent Type: Complaint with Jury:-Demand,

Attorney Namie: EVE ROSLYN KELLER Jury Demand: YES.- 6 JURORS.

Firm Name: FOLKMAN LAW OFFICES, PG Hurticane Sandy related’? NO:

Address: 1949 BERLIN ROAD suite fou Is this a'professional malpractice case? NO

‘CHERRY HILL NJ-08003 ‘Related cages pending: NO:

Phone: Ityes, list docket numbers:.

Nanie ‘of Party: PLAINTIFF BROWN, BERRICK Do-you anticipate adding any parties (arising out of same
Name of Defendant's Primary insurance Company. transaction. or occurrence)? NO.

GF krown): Unknow

‘THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO. EVIDENCE

CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION
Do parties have a current, past; orrécurrent.rélationship? NO
if yes, is that relationship;
Does the statute governing this-case provide for payment.of fees by the losing party? NO

Use this space to alert the court to.any special case characteristics that. may, warrant individual
management or accelerated disposition:

Do you or your client need any disability accommodations? NO
if yes; pledse identify the requested artommodation::

Willan interpreter be needed? NO.
if yes, for what language:

| certify.that confidential personal idetitifiers have been redacted from documents now submitted to the

‘court. and will be redacted from all documents submitted in the future in accordance with Rule:1-38-7(b)

40/05/2018 is EVE ROSLYN. KELLER
Dated Signed:

 
Case 1:18-cv-16004-NLH-JS Document1 Filed 11/09/18 Page 33 of 33 PagelD: 33

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Peveli “Trans ID: LOVe0181746755

‘BURLINGTON. COUNTY

SUPERIOR: COURT

49 RANCOCAS ROAD

MT HOLLY NJ 08066

. TRACK ASSIGNMENT. NOTICE
COURT TELEPHONE NO. (609). 268-9500
COURT HOURS 8:30 AM = 4:30 PM

DATE:- OCTOBER. 05, 2018
RES. BROWN DERRICK VS WIRTGEN: GROUP
DOCKET: BUR: L -602120: iB

THE ABOVE CASE HAS. BEEN ASSIGNED TO? ‘TRACK 3.

DISCOVERY -IS 450, DAYS “AND RUNS FROM THE EIRST, ANSWER.OR 90 DAYS
ROM* ‘SERVICE ON THE FIRST DEFENDANT; WHICHEVER COMES FIRST.

THE PRETRIAL JUDGE: ASSIGNED IS: “HON SUSAN LL. CLAYPOOTE

IF YOU HAVE ANY QUESTIONS: CONTACT TEAM G03
AT: (609) 288+9500,

IF ou BELIEVE THAT THE ‘TRACK’ IS: INAPPROPRIATE: YOU MUST FILE A
CERTIFICATION OF GOOD CAUSE WITHIN 30° DAYS OF THE: FILING OF YouR PLEADING.

PLAINTIFF MUST SERVE COPIES OF THIS BPORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2,

ATTENTION:
ATT: EVE R: KELLER.
FOLKMAN LAW OFFICES,. BC
1949 BERLIN: ROAD
SUITE 100
CHERRY: HILd: Nad08003

ECOURTS
